                               NO. 07-12-0119-CV
					 
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL D

	APRIL 18, 2012

	______________________________


	In re BARRY DWAYNE MINNFEE,

										Relator
	______________________________ 

	Original Proceeding
                        ______________________________

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
Pending before the court is Barry Dwayne Minnfee's application for a writ of mandamus.  He requests a writ of mandamus against "Ms. Barbara Sucsy," the district clerk.  We dismiss the petition. 
Relator complains that the district clerk has failed to file a document entitled "Civil Case Information Sheet."  Mandamus is intended to be an extraordinary remedy, available only in limited circumstances.  In re Southwestern Bell Telephone Co., L.P., 235 S.W.3d 619, 623 (Tex. 2007) (orig. proceeding).  Texas Government Code §22.221 expressly limits the mandamus jurisdiction of the courts of appeals to writs necessary to enforce the jurisdiction of the court of appeals and writs against specified district or county court judges in the court of appeals district.  Tex. Gov't Code Ann. § 22.221(a), (b) (West 2004).  Consequently, unless necessary to enforce our jurisdiction, we have no jurisdiction to issue a writ of mandamus against the district clerk.  In re Coronado, 980 S.W.2d 691, 692 (Tex. App. - San Antonio 1998, orig. proceeding) (per curiam) (noting because a district clerk is not a judge, a relator must show issuance of a writ of mandamus is necessary to enforce the jurisdiction of the court of appeals).  Relator's mandamus petition does not claim, nor does it appear to seek relief designed to enforce this court's jurisdiction.  Relator does not allege that he has an appeal pending before this court.  
Accordingly, we dismiss the appeal for want of jurisdiction.  
 
Brian Quinn 
Chief Justice 

